                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

THOMAS R. McLEAN, M.D. et al.,                 )
                                               )
                       Plaintiffs,             )
                                               )
v.                                             )      Case No. 20-0593-CV-W-BP
                                               )
JEFFREY W. BRUCE, et al.,                      )
                                               )
                       Defendants.             )

     ORDER (1) GRANTING MOTION TO STAY AND (2) DENYING MOTION FOR
                         SUBSTITUTED SERVICE

       On May 24, 2022, Plaintiff Thomas McLean (“McLean”) filed a Suggestion of Death,

indicating that that the only remaining Defendant, Jeffrey Bruce (“Bruce”) passed away. (Doc.

202.) McLean also filed (1) a Motion to Stay and (2) a Motion for Substituted Service; the latter

motion asks the Court to issue a writ to Bruce’s widow and adult children ordering them to appear

as defendants in this case, thereby effectively substituting them as defendants. The Motion to Stay,

(Doc. 203), is GRANTED and the Motion for Substituted Service, (Doc. 204), is DENIED.

       Rule 25(a)(1) of the Federal Rules of Civil Procedure provides as follows:

       If a party dies and the claim is not extinguished, the court may order substitution of
       the proper party. A motion for substitution may be made by any party or by the
       decedent’s successor or representative. If the motion is not made within 90 days
       after service of a statement noting the death, the action by or against the decedent
       must be dismissed.

McLean correctly observes that his claims against Bruce are not extinguished by Bruce’s death.

See MO REV. STAT. § 431.130 (contract claims); MO REV. STAT. § 537.020 (tort claims). Thus,

the Court may order substitution of the proper party or parties, and the Court will stay the case (for

the 90 days permitted by Rule 25(a)(1)) to permit either McLean or Bruce’s representative to seek

leave to join the proper party.




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       However, the Court rejects McLean’s suggestion that Bruce’s widow and adult children

should be substituted. “Rule 25(a) is a procedural rule setting forth the proper method for the

substitution of parties [but] state law governs who can be a ‘representative’ or ‘successor,’ and

therefore, who can qualify as a proper party for substitution under Rule 25(a)(1).” In re Baycol

Products Litig., 616 F.3d 778, 785 (8th Cir. 2010). Missouri law provides that the personal

representative of Bruce’s estate should be substituted as the defendant; however, it is a Missouri

Probate Court, and not this Court, that must appoint the personal representative. MO. REV. STAT.

§ 537.021.1(2).

       McLean’s motion assumes that Bruce’s widow and children will be appointed as personal

representatives, but this has not happened. As he observes, there is no personal representative

because Bruce passed away very recently and there has been no time for a proceeding to be

initiated in Probate Court. These facts do not justify guessing who the personal representative will

be and substituting a defendant prematurely; instead, these facts justify the stay the Court has

entered so that an estate can be opened in the manner set forth in Chapter 473 of the Revised

Missouri Statutes.

       Accordingly, the Motion to Stay, (Doc. 203), is GRANTED and the case is stayed for

ninety days pursuant to Rule 25(a)(1). The Motion for Substituted Service, (Doc. 204), is

DENIED.

IT IS SO ORDERED.



                                                     /s/ Beth Phillips
                                                     BETH PHILLIPS, CHIEF JUDGE
DATE: May 25, 2022                                   UNITED STATES DISTRICT COURT




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